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LET IT BE FILED

DT
Eric-Bochene Klin, “8

c/o 19 Pinecrest Road, New Hartford, New York (13413) 4} | @ ( a
+1 (315) 527-4494

 

Notice of Intent / Fee Schedule

To Whom It May Concern:

The annexed Notice of Intent — Fee Schedule is a schedule of mandatory fees instated by, !, Eric-Bochene, a man,
henceforth referred to as I, me, my, mine, do hereby set forth fees to be instated in any business dealing with me
for any business conducted relevant to this schedule. Fees are due and MUST be paid before said business can
commence. In the event that invoicing becomes necessary, invoiced amounts are due fifteen days after date of
receipt. If said fees are not met, it is my right to refuse or void any form of business interaction and/ or
transaction. Fees are subject to change at any time without prior notice. | reserve the sole authority to alter, void,
and/or enforce said fees and may do so at any time.

 

 
  

 

Affirmations:
Pursuant to: 28 U.S. Code § 1746(1); Reserving ALL my Natural God-Given Unalienable Rights, Waiving None,
Ever. Done on this 10% day, of the 8" month, in the year two thousand and twenty-one. ie:
° ZL i
Always

—

f — a Eric-Bochene®, a man, With All Risfite

Notary: used without prejudice to my rights:

BE IT REMEMBERED, that on this \\ i day of the eth month, in the year two thousand twenty-one, personally
appeared before me, the Subscriber, a Notary Public for the State of New York, Eric-Bochene, party to this
Document, known to me personally to be such, and he acknowledged this Document to be his act and deed.
Given under my hand and seal of office, the day, month, and year aforesaid.

Ce SOC) ventas

Notary Public Sitting in, and for, The State of New York

ee ee a
CHRYL L MOROSCO
Notary Public - State of New York
NO. 01M06234629
Qualified in Oneida Gounty
My Commission Expires \WQ4\Q093
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rrr T= +

 

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Notice of Intent / Fee Schedule,
by: Eric-Bochene®, a man / 12" of August 2021
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Penalty for Private Use.......cccccssecsenseesseerenssessensseenees $250,000.00

Penalty for Public US@......ccccceseeesescseesesesenenseneeenescens $250,000.00

These fees will be mandated upon the informant listed on the traffic citation ticket(s), arrest warrants, detention
orders, seizure orders.

Produce materials:

1. Name... veases besesuecesvacessevatesevesesseesersenees $50,000.00
2. Drivers License Number... saitsaun ite uwegUCiasmateau seat $50,000.00
3. Social Security NUMBED cccccsccsccsesseevesssssereseasee $100,000.00
A, Retinal Scan... eescccessospidensalaiease cd sveciianeeveaseebvany $5,000,000.00
5. FINGErPrinting.......cccccssssesseseeeeessssesrscesceensnsesenseneeeens $500,000.00
6. Photographing...........++.anaidpecsauucdecuseuvcnvausieeseasants $500,000.00
7. DNA Lec csseccsceeeseecsseeeessterseeeeteresenensrertepestttetnecees $50,000,000.00
i. Mouth SWabuu....ccccesesccsscsccenssseesesstesreesseesenes $50,000,000.00
Hi. Blood sample ...ccccccscccccesesecssssesseenesetepeeees $50,000,000.00
it, = Urine sample... cece ccecccssssssnseeeseeseseseesees $50,000,000.00
iv. Breathalyzer sample........cccccseesereessenenseees $50,000,000.00
V. —-_ Hair Sample... ecseseesesscsseesseneteaesteeseeeseees $50,000,000.00
Vi. SKIN SAMPIO. cece ceeseeecsscecesessseeseeseetscerenseneeess $50,000,000.00
vii. Clothing saniplen.. . es susaeeteele $50,000,000.00
viti. All other fluids ara genetic material... ceuneees $50,000,000.00

Issue traffic citations and tickets of any traffic nature:

a. Citations... ies NCAT RLIR ERS RIICS $75,000.00
b. Warning issued on paper ticket... sa sestanscweniaiciaeiis $25,000.00

Appearance in court for traffic citations:

A. THM IN COUPE ccc ccecccseseescsccsssscsscessssssesssscecsecesseeneaeees $75,000.00/hour
b. If fine is IMPOSE........ceccecccceesessseeseectscseeescassatstenensarensass $500,000.00

Car / Personal Property, Tresspass, Carjacking, Theft, Interference with Commerce:

a. Agency by Estoppel.......cccccsececscscessssesesescieecenseenees $200,000.00
b. Color of LaW....cccsccscsssceesesserecssesseesssvenvensessecoueerensees $200,000.00
c. Implied Color of Law............scaisuwcncanaremcaaee $200,000.00
A. Criminal Coercionin...ccccccceccesssssccssssensvessevscseveassseseseens $500,000.00
e. Criminal Contempt of Court devasecenseostsscucereeesssenscesees shill $500,000.00
fF. Estoppel by Election ...ccccccccsscssssesesscsersvsnssnesesensnasnenaves $400,000.00
g. Estoppel by Laches. ..ssasssistvassaiaranernlesattinatcanncrconccccccs $400,000.00
h. Equitable Estoppel.......c.csccccsescsssseseeseseeeeseeseneseeeeeveeeess $500,000.00
1. FraUCh...cscccsessecorsssececsosseeceseree en onifiasubibausuesesncdantvenats §1,000,000.00
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by: Eric-Bochene©, a man / 12" of August 2021
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Fraud Upon the Court.....cceeceeeseceeeeseesscreseeeseesseseetees
LAP CONY....cccceceeeeessnscetereeennnanereeseerseaseeetseeseeseeueesensnes
Grand Larceny......cccseccseceeeseseeesebeaainnbavessevbaeuteniaaiania
Obstruction Of JUStICE..........ccsecreesseceeteenseseseeseeseesenee
Obtaining Property by False Pretenses......... cence
Simulating Legal ProCe€Ss.......ccccccceeeceteseesesestrseseneeeess
Vexatious Litigation .....cccccccccsensecssesenteeenceesseeneerens
Trespass UPON Motor CONVeyane.....cecccceceeeenees
Unauthorized Relocation of Motor Conveyance...
Seizure of Motor CONVeYANCE.......cccccceeectsseesteeeetereees
Theft of License Plate... cc cccecssecssscersrsseeseecseereecensens
Unlawful Lien on Motor Conveyance.....cscsscssscencreesnes

cmv rapes 37 A

Use of protected material under threat, duress, and/or coercion:

a. Name written by the informant.........cccsccseseseseseeeeeee

b. Drivers License written by the informant............-::::s8s
c. Social Security Number written by the informant...
d. Miscellaneous material written by the informant................

Produce any personal information/property for business interaction:

a. Financial information........... ccc eccseesetereetteereees
b. Property inside of Motor CONVEYANCE... :ceiseeseeseese scenes

Time Usage for Traffic Stops:
A. BO MINUTES... eee eeeceeeesseceeenentenneeetenernnnneeeeres

b. GO MINUteS.. sssirvisievccisecsvarnssisnavavvenbarereasn ans
C. JO MINUTES... ceececeseeseeesenueeeeeneeeereranetenerer®

Court Appearance Schedule:

$2,000,000.00
$1,000,000.00
$2,000,000.00
$500,000.00
$2,000,000.00
$1,000,000.00
$5,000,000.00
$250,000.00
$250,000.00
$250,000.00
$25,000.00
$250,000.00

$200,000.00
$200,000.00
$200,000.00
$500,000.00

$500,000.00
$250,000.00

$5,000.00
$12,500.00
$25,000.00

These fees must be paid prior to my appearance. Failure to pay fines and have an additional fee of $5,000.00 per

incident for breach of contract.

Demand for Appearance in Court:

a. Under protest and duress... ccctceeseeeees
b.  Volunntarrily..........cscsereceseeseaaueniinadssmunsareaneecseueniabes

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$75,000.00/hour
$10,000.00/hour

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Use of:
a. Name

i. Under protest and Guress.....ccceeeeee
Hh, VOLUNtALIIY.....ceeseeeeeserseterresereentee

b. Driver’s License

i. Under protest and duress..........+-+
ti Voluntarily... eceeeeeecerseeeeees

c. Social Security

i. Under protest and duress...
Hh. VONUNtAPHY... ee eeteceesesteneeeeeeees

d. Miscellaneous Material... cccscscscsssceesseeees

i. Financial information.............s08e
ii. Drivers LIC@NSE...........ccccseee ieee ceeeteeee

Time Usage for Court Appearances:
a. 30 minutes

i. Under protest and duress..........0008
Th. — VOIUIn tail ys. ce eeenetreeerereeeeneaseees

b. 60 minutes

i. Under protest and duress...
Hi Voluntarily... ee eeseesecteeeeees

c. 90 minutes
i. Under protest and dureéss..........:+:+++
H.— Voluintarily....... ce ececeseereceseecnseees

d. 120 minutes
i. Under protest and duress........ccs00

ii. Voluntarily.........2.-

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Social Security NUMDET.........:seeceeree
Any additional document produced by me..

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$250,000.00
$10,000.00

$250,000.00
$10,000.00

$250,000.00
$10,000.00

$25,000.00

Produce personal information/property for business interaction:

$25,000.00
$25,000.00
$25,000.00
$50,000.00

$50,000.00
$10,000.00

$100,000.00
$25,000.00

$250,000.00
$50,000.00

$250,000.00
$50,000.00

Notice of Intent / Fee Schedule,
by: Eric-Bochene®, a man / 12" of August 2021
a0 hentia Steet oN

Trespass by public official(s), police officer(s), judge(s), attorney(s), Corporation(s) and other fictional entities as

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Ses Cekeciile
WT Leech ttl ee

well as all others who desire to contract:

xeExotYRaDOS RTH KRT TH sTA HM AN oD

aa.
bb.

ce.

dd.

ee.

ff.

88.
hh.

jj.

Failure to honor God Given Rights...........ccccccsceesseeseeees
Failure to honor Oath of OffiC@........cccccssseessesseereeteeses
Failure to honor Constitutional Oath... ccccccccseeeeeees
Failure to honor Written and/or Oral Word.........ccccceeeees
Silence / Dishonor / Default.........cccceccccecsesseesseeeneeeees
Failure to honor / NO BONd,......cccccsecsecesecsecessecesseeeeesees
Phone call to my telephone numbe......... cece eeeeteee
Message on my telephone NUMDET........:ccccseeeteceeeeeeees
Use of my street address/mailing location... eee
Time waiting for scheduled Service.......cccecseeseeeeeeeeenee
Detention from free MOVEMENL.........ccccecsessseeseceteeeens
Incarceration...

. Failure to follow Federal codes, rules and/or regulations a

Failure to follow State codes, rules and/or regulations.........
Failure to state a claim whereby relief can be granted.........
Failure to present a living injured party.......ccceceseseeeers
Failure to provide signed CONTACT... eecescseteecneecneeereees
Failure to provide IRS reporting form(s) upon request.........
Default by non-response or incomplete responseé.............5
Fraud sinssnasnenssneooucaminctmnaennawsscenneinaaiearereMenniRee
Racketeering. .....cccccccccccscecssecesseeveeceseceecneescuetectaeesaes

Theft of Public FUNS.........cccscsscsececetecteeereeeeeeeterenee
Dishonor in COMMENCE.......ccccceccseesecseccseeesessrevseeterens
Failure to pay counterclaim in full within (30) calendar days
of default as set forth herein...

Perverting of Justice JUCBEMENEL..... ee ceeeetessteeeteteeee

US@ OF MY NANG... ccccccccececescecesecessececsecseeeessneeenseeenaes
Forcing psychiatric evaluations. ......cccccccscessseetecseeteeeets
Failure to provide adequate and proper nutrition

while incarcerated (per day)... ccceccssssecessecreeererseeneednenens
Failure to provide proper exercise while

incarcerated (per CaY)......ccccccccscesscsectsesssestecsesceesesseneaeens
Failure to provide proper dental care while

incarcerated (per day)... cesses cssssseesssessectssescsteeneetsetsentes
Forced giving of bodily fluids... ccccsessesereeerssnersanees
Forced injections (per iNStance)..........c:esecseecteereeeesteeeseteenes
Forced separation from marriage contract.........ceeceeseees
Confiscation/kidnapping.... vita cess

Attempted extortion of signature or dhatze)..

Attempted forgery of signature or Charge.....cesseceeeeeeeeees

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$50,000.00
$25,000.00
$25,000.00
$50,000.00
$10,000.00
$10,000.00
$5,000.00
$5,000.00
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$6,000,000.00
$6,000,000.00

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All claims are stated in US Dollars which means that a US Dollar will be defined, for this purpose as a One Ounce
Silver Coin of .999 pure silver or the equivalent par value as established by law or the exchange rate, as set by the
US Mint, whichever is the higher amount, for a certified One Ounce Silver Coin (US Silver Dollar) at the time of the
first day of default as set forth herein; if the claim is to be paid in Federal Reserve Notes, Federal Reserve Notes

will only be assessed at Par Value as indicated above.

A person commits the offense of kidnapping in the first degree if he or she
unlawfully removes another person without his or her consent from the place where he or she is found or

unlawfully confines another person without his or her consent.

G,.  SCUCYIMNE...asesnerscssnseneepssoeranstengenseansvaddsoanepaleuieupanssysedl dae tieneatesstba

i. Under protest and duress.......cseecereerres

bb. AmallyZing..cccccccssccssssscsscescsecesseeseneeescaceeeeseseeseeeceaeeqeensneraeerensees

i. Under protest and duress.....ccsscerseenes

C. Research. vvsssivvsssvesessstuevnausvesavarasiavesiaienssaneas

i. Under protest and duress........::c:ccciee

d. Preparing DoCUMENES.........c:cccccecccseesessectesceeeseneeens ceivaeatieun outs

i. Under protest and duress

€. AMSWETING QUESTIONS... eee ceeeeeterteceneeetceeneesetaaeseaeseasanersaseats

i. Under protest and duress
f. Providing Information...........cccccceceeeeeesceeteeees

i. Under protest and duress

$500.00/hour
$50,000.00/hour
$500.00/hour
$50,000.00/hour
$500.00/hour
$50,000.00/hour
$500.00/hour
§50,000.00/hour
$500.00/hour
$50,000.00/hour
$500.00/hour

§50,000.00/hour

If invoiced, payment is due within 15 days of receipt date.

Make Payments to:

Eric Bochene
c/o 19 Pinecrest Road, New Hartford, New York ( 13413 )

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Notice of Intent / Fee Schedule,
by: Eric-Bochene®, a man / 12" of August 2021
